         Case 22-07109                 Doc 7        Filed 06/27/22 Entered 06/27/22 08:59:50                       Desc Ch 7 First
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Information to identify the case:

Debtor 1:
                      Bridget T. O'Reilly                                        Social Security number or ITIN:   xxx−xx−8813
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Northern District of Illinois             Date case filed for chapter:        7     6/24/22

Case number:22−07109
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Bridget T. O'Reilly

2.        All other names used in the dba Bridget O'Reilly Childcare, LLC
          last 8 years

3.      Address                                  615 Ferndale
                                                 Gurnee, IL 60031

4.      Debtor's attorney                        Mark L. Shaw                                         Contact phone 847−244−4696
                                                 Shaw Law Ltd.
        Name and address                         33 North County Street                               Email: grgosselin@shawlawltd.com
                                                 Suite 300
                                                 Waukegan, IL 60085

5.      Bankruptcy trustee                       Joseph E Cohen                                       Contact phone 312 368−0300
                                                 Cohen & Krol
        Name and address                         105 West Madison Suite 1100                          Email: jcohen@cohenandkrol.com
                                                 Chicago, IL 60602
                                                                                                               For more information, see page 2 >
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Debtor Bridget T. O'Reilly                                                                                                          Case number 22−07109


6. Bankruptcy clerk's office                       Eastern Division                                            Hours open:
                                                   219 S Dearborn                                              8:30 a.m. until 4:30 p.m. except
    Documents in this case may be filed at         7th Floor                                                   Saturdays, Sundays and legal holidays.
    this address. You may inspect all              Chicago, IL 60604
    records filed in this case at this office or
    online at https://pacer.uscourts.gov.                                                                      Contact phone 1−866−222−8029

                                                                                                               Date: 6/27/22

7. Meeting of creditors                            July 29, 2022 at 01:00 PM                                   Location:

    Debtors must attend the meeting to be          The meeting may be continued or adjourned                   Appear by Video. See details at www.,
    questioned under oath. In a joint case,        to a later date. If so, the date will be on the             justice.gov/ust/file/ILN.pdf/download.
    both spouses must attend. Creditors
    may attend, but are not required to do         court docket.
    so.
                                                   Debtors must bring a picture ID and proof
                                                   of their Social Security Number.

8. Presumption of abuse                            The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                       File by the deadline to object to discharge                 Filing deadline: 9/27/22
                                                   or to challenge whether certain debts are
    The bankruptcy clerk's office must             dischargeable:
    receive these documents and any
    required filing fee by the following
    deadlines.
                                                   You must file a complaint:
                                                   • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                     subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                                   • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                   You must file a motion:
                                                   • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                   Deadline to object to exemptions:                           Filing deadline: 30 days after the conclusion
                                                   The law permits debtors to keep certain property as         of the meeting of creditors
                                                   exempt. If you believe that the law does not authorize
                                                   an exemption claimed, you may file an objection.


10. Proof of claim                             No property appears to be available to pay creditors. Therefore, please do not file a proof
                                               of claim now. If it later appears that assets are available to pay creditors, the clerk will
    Please do not file a proof of claim unless send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.             deadline.

11. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                        asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                                   United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                   be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                                   You may inspect that list at the bankruptcy clerk's office or online at
                                                   https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                   that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                   receive the objection by the deadline to object to exemptions in line 9.
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